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 1                                                            THE HONORABLE JAMES L. ROBART

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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8
     UNITED STATES OF AMERICA,                         )
 9                                                     ) Case No. 2:12-cv-01282-JLR
                                      Plaintiff,       )
10                                                     ) DECLARATION OF
                    v.                                 ) ADRIAN Z. DIAZ
11                                                     )
     CITY OF SEATTLE,                                  )
12                                                     )
                                      Defendant.       )
13                                                     )

14          I, Adrian Z. Diaz, being familiar with the facts set forth herein based on my personal

15   knowledge, and being competent to testify, hereby declare under penalty of perjury that the

16   following is true and correct:

17          1.      I am, as of being sworn in on January 12, 2023, the Chief of the Seattle Police

18   Department – a position I have held in an Interim capacity since September 2, 2020. Having been

19   selected for this position following a national search and a competitive process, my nomination

20   was approved by a 5-0 vote of the City Council Public Safety Committee on December 13, 2022

21   and confirmed by an 8-1 vote of the full Seattle City Council on January 3, 2023. It is my deep

22   honor and privilege to continue to serve the people of Seattle, our many unique communities, and

23   to continue to rebuild the community’s trust in our police services.


                                                                                     Ann Davison
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 1           2.        By City Charter, I am responsible for overall department management, prescribing

 2   rules and regulations consistent with law, for its government and control, and responsible to the

 3   Mayor for the administration of the department and enforcement of the law. I oversee the

 4   department’s Command Staff, which includes five commissioned assistant chiefs and seven

 5   civilian senior executives. A commissioned Deputy Chief position is presently vacant but will be

 6   filled in 2023.

 7           3.        When I was first appointed to serve as Interim Chief in September 2020, SPD was

 8   at one of the lowest points in its history. The COVID-19 pandemic, still in its early months, was

 9   in full force, with public health restrictions interrupting many of our routine organizational

10   processes and protocols. Officers, still serving alongside the Fire Department as the City’s primary

11   front-line responders, were increasingly tasked with mounting challenges at the intersection of

12   public health and public safety, exacerbated by the closure or reduction in service of many of our

13   public or non-governmental organization partners. Tensions over SPD’s management of protests

14   following the murder of George Floyd and admitted mistakes by the department in responding to

15   initial incidents in the early days of the protests had harmed the public’s trust in the department –

16   a trust that I and so many others had spent our careers building. These events, compounded by the

17   exhaustion and physical and mental injuries experienced by officers already working under

18   unprecedented levels of sustained pressure, had devastating consequences on our department’s

19   staffing and morale.

20           4.        Notwithstanding, the resilience of our department, our good work around public

21   safety, and our focus on continuous and iterative improvement, innovation and reform is

22   unequivocally evident in our data. From a public safety perspective, despite a staffing crisis that

23   has reduced SPD’s deployable officer count to its lowest levels in nearly 30 years, a proliferation


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 1   of guns and associated gun violence, continued strain in the social service network so critical to

 2   fill gaps at the complicated intersection of public safety and public health, and the flooding of our

 3   streets with increasingly potent and too-frequently lethal doses of synthetic opioids (fentanyl),

 4   SPD continues to deliver remarkable results. In 2022, SPD recovered over 1,260 firearms – the

 5   second-most (after 2018) in over a decade. Likewise, in 2022, SPD seized over one million

 6   fentanyl pills – enough to kill every person in the City of Seattle. And while arrests alone are not

 7   a marker of success as SPD utilizes many forms of diversion, our officers made 13,276 arrests (of

 8   8,196 individuals) in 2022, which is consistent with prior years notwithstanding the loss of a third

 9   of department personnel over the past two years. As these statistics reflect, despite challenges, our

10   employees remain engaged, proactive, and dedicated to the mission of providing critical public

11   safety services to the public.

12           5.      With regard to matters touching upon the Consent Decree, our data reflect that the

13   reforms put in place under federal and court oversight continue to be strengthened, even with

14   stretched capacity. I am proud that our year-end numbers continue to show the use of force to be

15   rare, that we continue to resolve over 98% of the almost 10,000 crisis contacts to which we are

16   called without any use of force whatsoever, and that where force is used, the overwhelming

17   majority is no greater than low-level, Type I use of force. Our stops and detentions continue to be

18   well-documented, well-articulated, and overwhelmingly supported by, at minimum, reasonable

19   suspicion if not probable cause. Our own data and the Monitor’s recent assessment reflect these

20   operational realities.

21           6.      Our 2022 numbers show this sustained reduction in the use of force. In 2022, SPD

22   officers used force 1,097 times—a reduction of nearly 50% (down from 2,068 in 2015) since

23   Consent Decree-driven use of force policies went into effect. Perhaps most importantly and of


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 1   more immediate concern, there was not a single incident of reportable use of force during the more

 2   than 30 significant demonstrations that SPD responded to in 2022.

 3          7.      All of these facts are important because they validate the outstanding work of the

 4   men and women of this department in critical areas of public safety.

 5          8.      While these data show that SPD has sustained the Consent Decree reforms and

 6   continued to deliver on traditional measures of public safety, we also have worked to innovate and

 7   respond to changing community priorities and expectations. SPD’s Crisis Response Team deploys

 8   a co-responder model, partnering mental health professionals with specially trained sworn

 9   officers. The Crisis Response Team focuses on taking a holistic approach to law enforcement

10   encounters with persons experiencing behavioral health issues. Whether responding to in-progress

11   calls or conducting follow-up, the goal of the Crisis Response Unit is to divert individuals from

12   the traditional criminal justice system and redirect them to the most appropriate resources. In

13   addition, SPD coordinates with the King County Mobile Crisis Team and makes over 20% of

14   regional referrals of persons in crisis to that program. I have vocally supported the development of

15   Health One and Triage One, which are complementary Seattle Fire Department programs.

16          9.      SPD continues to work closely with the Office of Inspector General for Public

17   Safety (OIG), and I will highlight two important areas of collaboration. First, SPD has

18   implemented many of the recommendations that it received from the community-led Sentinel

19   Event Review facilitated by OIG. For example, SPD recently collaborated with OIG and

20   established a “dialogue unit,” modeled on the work of the Stockholm Police Authority, to foster

21   greater communication and understanding between the police and those who gather before, during,

22   and after events. This unit, the Public Outreach and Engagement Team (POET) regularly meets

23


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 1   with demonstration organizers or points of contact to plan for successful and safe events and

 2   engages during the events to reduce any points of friction.

 3           10.       A second example of SPD-OIG collaboration involves promoting racial equity. OIG

 4   and SPD convened a stakeholder workgroup beginning in 2021 to collaborate on a traffic

 5   enforcement initiative. The goal of this effort is to identify and implement alternatives to minor

 6   traffic stops. Data gathering to inform these alternatives has been ongoing since 2021. This work

 7   culminated in SPD no longer considering the following traffic offenses as a primary basis for a

 8   stop:

 9                 •   Expired or missing vehicle registration,

10                 •   Issues with the display of registration plates (e.g., missing front license plate),

11                 •   Technical violations of the traffic code, such as items hanging from the rear-view

12                     mirror and cracks in the windshield, and

13                 •   Bicycle helmet violations (King County subsequently eliminated the governing law,

14                     so failure to wear a helmet is no longer a violation).

15           11.       Another core function that I perform is the administration of SPD’s disciplinary

16   system as the final decision-maker. In this capacity, I work closely with the Office of Police

17   Accountability and its Director. Based on my experience and knowledge of other police

18   departments, I believe Seattle’s handling of investigations of allegations of police misconduct to

19   be one of the most effective, transparent, and procedurally just systems in the county.

20           12.       Finally, I would like to take the opportunity to recommit to the Court, the elected

21   leaders of Seattle, and the people of Seattle that SPD continues in its relentless pursuit of

22   excellence. I submit that a major reason the City of Seattle ended up in a Consent Decree was the

23   lack of continual improvement – SPD fell behind the curve, and the City wasn’t paying attention.


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 1   We are in an entirely different posture now – the State of Washington has established new laws

 2   increasing accountability at the officer and departmental level; the City of Seattle implemented a

 3   comprehensive, independent police accountability system that the Monitoring Team is currently

 4   assessing; and SPD has implemented and maintained its own critical systems of self-analysis such

 5   as the Force Investigations Team, the Force Review Board, the Force Review Unit,1 its

 6   commitment to data analytics and transparency. And even so, SPD continues to develop its service

 7   delivery and accountability systems to be more efficient, more equitable, and to produce the best

 8   outcomes that it can for everyone in Seattle. So, even as the City and the Department of Justice

 9   move towards a resolution of the Consent Decree, which is a significant and essential milestone,

10   that does not signal that our work is done. I take great pride in what we – especially our officers –

11   have accomplished, and I am optimistic that we will continue to develop and evolve in the future.

12   That is, I submit, the fundamental purpose of the Consent Decree: to create a learning organization

13   that adapts from its mistakes, aligns with community expectations, and ultimately delivers fair,

14   equitable, and effective police services to the people of Seattle. During my appointment process, I

15   was asked what I wanted my legacy to be. I responded:

16          “My vision is to build a beloved community – a community at peace. Martin Luther
            King Jr. talked about a beloved community that is cared for regardless of poverty
17          or race; I share that goal. To do this we must know what our community wants us
            to do, we must restore and build public trust, and we must focus on continuous
18          improvement and innovation.

19

20
            1
21            The Force Investigation Team is an independent, inter-disciplinary team of specialized
     detectives who investigate the most serious uses of force. The Force Review Board examines the
22   most serious uses of force to determine (1) whether the internal investigation was thorough and
     complete; (2) whether the force complied with SPD policy and training; and (3) to identify any
23   broader, systemic issues that arise. The Force Review Unit, comprised of a captain, a lieutenant, a
     sergeant, and two detectives, reviews all Type I and Type II uses of force.

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